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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 HC2,INC.,                                                 Civil Action No.: 20-cv-3178 (LJL)
                           Plaintiff,
                                                      DECLARATION OF JOAN DAVISON IN
                                                      SUPPORT OF HC2'S OPPOSITION TO
 ANDREW DELANEY,                                       PLAINTIFF'S MOTION TO DISMISS
                                                      PURSUANT TO FED. R. CrV. P. 12(bX1)
                           Defendant.




        I, Joan Davison, declare as follows:

        1.      I am the Chief Executive Officer ("CEO") of Plaintiff HC2, Inc. (*HCz").I am a

legal resident of Illinois.

        2.      I   have personal knowledge of all the facts stated herein based on my personal

knowledge and my review of Plaintiff s records.

        3.      HC2 is a national legal staffing company that recruits and provides temporary legal

staff such as attorneys, paralegals, and other legal professionals. It also provides managed review

services, which consists      of assigning document review personnel as well as providing   secure

review facilities,   IT   infrastructure, and project management personnel   for document review
projects on behalf of its customers, including law firms, corporations and government agencies.

        4.      As of April2020, HC2 had several office locations throughout the United States,

including in (1) Boston, (2) Charlotte, (3) Chicago, (4) Los Angeles, (5) Morrisville, North

Carolina, (6) New York, (7) Philadelphia, (8) San Francisco, (9) Southfield, Michigan, and (10)

Washington, D.C.

        5.      I assumed my position    as CEO on   March 3,2017 and primarily direct the company

from my office in Chicago. Prior to March 3,2017, the CEO of the company resided inNew York
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and primarily conducted HC2's business out of the New York         office. Until my hire, New York

was HC2's headquarters and for the first twelve months of my employment, I frequently traveled

from my office in Chicago to the New York office. However, after my hire in 2017,I began the

process of transitioning HC2's headquarters and many       of our executive roles from New York to

Chicago as part of HC2's overall business strategy. Due to this process, Chicago was HC2's

headquarters on     April 22,2020 when HC2 commenced this action against Mr. Delaney.

       6.          First, HC2's hired a new Chief Financial Officer ("CFO"), Charles Nelson, on

October 23,2017. Mr. Nelson joined the executive management team of the Company in the

Chicago Office upon the commencement of his employment. Mr. Nelson's retention coincided

with his predecessor's departure from HC2 shortly thereafter on December 22,2017. Mr. Nelson's

predecessor worked out of the New York Offrce.

       7   .       Through 201 8 and 201 9 the transition of executive management from New York to

Chicago continued. HC2 moved the rest of the Finance Department from New York to Chicago

by hiring a new Controller named Nancy Rausch on January 8, 2019. Ms. Rausch works from the

Chicago office. Her predecessor worked out of the New York Office and separated from HC2 on

July 20,2018.

       8.          On January 9,2018, the company hired a Managing Director of Operations, Nick

Radoicic, who works in the Chicago office.

       9.          HC2 also moved the Human Resources Department and the Marketing Department

from New York to Chicago through 2019.

       10.         HC2 hired a Director of Marketing to work in the Chicago office, Sharon Rizzo, on

March 5,2019. She separated with HC2 in June 2020 but she at all times during her employment




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worked in the Chicago Offrce. Ms. Rizzo's predecessor worked out of the New York office and

separated with HC2 in early 2019.

       11.      On April 16,2019, the company hired Vice President of Human Resources, Patti

Ayala, to work in the Chicago office. Ms. Ayala's predecessor worked out of the New York office

and separated from HC2 on May 3, 2019.

       12.      HC2 also renovated its office space in Chicago between mid-2018 to early 2019 to

accommodate these executives as part of the transition of its headquarters from New York to

Chicago. Since their 2019 hiring in Chicago, my office has been within feet of those for the Vice

President of Human Resources, as well as for the Controller.

       13.      As CEO,       I also have ultimate decision-making authority with respect to HC2's
business decisions.     I   made these decisions in Chicago at the time this action was commenced.

Based on my personal knowledge, my executive management team in Chicago did the same. For

example, since her 2019 hiring, the Vice President of Human Resources has overseen the creation

and execution of human resources policies and decisions, as well as the administration of all

employee benefits   -   all from Chicago .

       14.      With regard to management-related business, five out of the ten members of the

Company's management team were based in Chicago on April 22,2020, when this action was

commenced. As stated, these individuals included the following:

           a.   myself(CEo);

          b.    Nancy Rausch (Controller); ttts. Rauch oversees financial reporting, external

                audits, payables and receivables, and banking;

          c.    Patti Ayala; (Vice President of Human Resources);




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             d. Nick Radoicic (Director    of Operations); Mr. Radoicic oversees all operations on a

                  national level, including vendor services that supplement client and candidate

                  recruitment, recruitment for special attorney projects and e-discovery; and

             e.   Sharon Rjzzo (Director of Marketing);

       15.        Our Chicago-based CFO, Mr. Nelson, separated from the company prior to April

22,2020. Mr. Nelson had been a member of the management team prior to his separation. A few

months after Mr. Nelson's departure and before this action, the company began utilizing a

consultant as interim CFO who works in the State of Minnesota on an as needed basis.

       16.        Three out of the remaining five management team members not based in Chicago

work in a state other than New York, and did so on April 22,2020. Those individual include the

following:

             a.   Denise Asnes (Senior Managing Director, National Fulfillment for Project Based

                  Staffing) located   in Philadelphia. Ms. Asnes manages all        document review

                  recruiters on a national level to ensure the proper recruitment and assignment of all

                  document review personnel to projects across the company.

             b.   Lani Mark (Director of Business Services) located in Washington, D.C. Ms. Mark

                  manages the company's enterprise-wide applicant tracking and invoicing software

                  systems and related systems.

             c.   Todd Kunz (National Director of Managed Review Projects) located in North

                  Carolina. Mr. Kunz manages and coordinates the companies document review

                  resources based on client need, such as review space, computer hardware and

                  project managers that are located across the country.




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       17.     Out of the ten members of my management team only two were in the New York

office as of Ap/,l 22,2020. These two were Andreana Nelson (Vice President of Sales) and

Stephanos Zannikos (General Counsel).

       18.     Increasingly, since the transfer of the management to Chicago, and at all times

through 2020, management meetings typically have taken place over the phone. However, when

they are in person (prior to the onset of the pandemic), meetings have been conducted in any     of

HC2's offices, including in Chicago, New York, Florida and District of Columbia. FurtherTnore,

while I have had an office in HC2's New York office since 2017, as of April 22,2020,I spend the

vast majority of my time in my office in Chicago. And when not in my Chicago office,      I   spend

time at the various office locations of the company across the country. I have managed and

conducted business out of the Chicago office, and interacted with HC2's executives in person in

Chicago and for those individuals outside of Chicago via phone from my Chicago ofFtce.

       19.     Additionally, when this action was filed, most of HC2's functional and operational

corporate departments operated out of illinois, though HC2 had some corporate functions based in

other States. The following are the locations of HC2's various departments as of April22,2020:

   o   Chicago

           o   Office of the Chief Executive
           o   Human Resources
           o   Accounting
           o   Finance
           o   Operations
           o   Marketing
           o   Specialized Project Attorney (SPA) Recruitment

   a   New York
          o Legal
           o   Sales

   a   Philadelphia
           o  Project Based Staffing Recruitment
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    o   Morrisville, North Carolina
            o   Project Management

        20.     HC2 also maintains key corporate records primarily in electronic form or, as of the

end of 2019, in its Chicago office. Such records include stock certificates and its insurance policies.

        21.     To the extent that HC2's public registrations identifu New York and not Chicago

as HC2's   principal offrce (or simply where it wants to receive mail), this was either inadvertent,

for business reasons because we have identified New York as the office in which we prefer to

receive mail, a consideration guided in part by the fact that our General Counsel is located in New

York. HC2 will     be reviewing its public registrations and updating any necessary filings.




        I declare under penalty ofperjury that the above is tue and correct, and that I executed this
                   ,,   lH
declaration this   7      day of January 2021in Chicago, Illinois.




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